Case 8:19-cv-01648-JSM-JSS Document1 Filed 07/09/19 Page 1 of 7 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
RICHARD J. BUTLER,

Plaintiff,
Vv. Case No.:

POWER ELECTRONICS USA INC,

Defendant.
/

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, RICHARD J. BUTLER, by and through undersigned counsel, brings this
action against Defendant, POWER ELECTRONICS USA INC (“Defendant”), and in support
of his claims states as follows:

JURISDICTION AND VENUE

1, This is an action for damages under the Fair Labor Standards Act (“FLSA”),
29 U.S.C. § 201 et seq., for failure to pay overtime wages under 29 U.S.C. § 215(a)(3), for
unpaid wages under Florida common law.

2: This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29
U.S.C. § 201 et seq.

3 Venue is proper in the Middle District of Florida, because all of the events
giving rise to these claims occurred in Hillsborough County, Florida.

PARTIES

4. Plaintiff is a resident of Pinellas County, Florida.
Case 8:19-cv-01648-JSM-JSS Document1 Filed 07/09/19 Page 2 of 7 PagelD 2

5, Defendant operates an electronics company in Tampa, in Hillsborough

County, Florida.

 

GENERAL ALLEGATIONS
6. Plaintiff has satisfied all conditions precedent, or they have been waived.
if Plaintiff has hired the undersigned attorneys and agreed to pay them a fee.
8. Plaintiff requests a jury trial for all issues so triable.
9, At all times material hereto, Plaintiff was “engaged in the production of

goods” for commerce within the meaning of Sections 6 and 7 of the FLSA, and as such was
subject to the individual coverage of the FLSA.

10. At all times material hereto, Defendant was an “employer” within the meaning
of the FLSA, 29 U.S.C. § 203(d).

11. Defendant continues to be an “employer” within the meaning of the FLSA.

12. At all times material hereto, Defendant was and continues to be an enterprise
covered by the FLSA, as defined under 29 U.S.C. §§ 203(r) and 203(s).

13. At all times relevant to this action, Defendant was engaged in interstate
commerce within the meaning of the FLSA, 29 U.S.C. § 203(s).

14. Atall times relevant to this action, the annual gross sales volume of Defendant

exceeded $500,000 per year.
Case 8:19-cv-01648-JSM-JSS Document1 Filed 07/09/19 Page 3 of 7 PagelD 3

15. Plaintiff was not employed by Defendant in a bona fide administrative,
executive, or professional capacity. In particular, Plaintiff had no authority to hire or
terminate any other employee of Defendant; he had no special or professional qualifications
and skills for the explicit use of which he was employed by Defendant; and he had no control
whatsoever over Defendant’s business operations, even from an administrative standpoint.

16. Thus, Plaintiff is a “non-exempt employee” who is covered by the FLSA.

17. At all times material hereto, the work performed by Plaintiff was directly
essential to the business performed by Defendant.

FACTS

18. Plaintiff began working for Defendant as a Field Technician in March 2019,
and he worked in this capacity until May 2019.

19, At various times material hereto, Plaintiff worked hours in excess of forty (40)
hours within a work week for Defendant, and he was entitled to be compensated for these
overtime hours at a rate equal to one and one-half times his regular hourly rate.

20. Defendant failed to pay Plaintiff an overtime premium for all of the overtime
hours that he worked, in violation of the FLSA.

21. Defendant’s actions were willful, and showed reckless disregard for the
provisions of the FLSA.

De, In exchange for Plaintiffs services, Defendant agreed to pay Plaintiff an
annual salary of sixty thousand dollars ($60,000.00), plus reimbursement for travel expenses.

23. Defendant failed to pay Plaintiff all wages owed to Plaintiff, including

reimbursement for travel expenses.
Case 8:19-cv-01648-JSM-JSS Document1 Filed 07/09/19 Page 4 of 7 PagelD 4

24. Plaintiff's unpaid reimbursement for travel expenses constitute “wages” under
Florida common law, as well as under Fla. Stat. § 448.08.

25. In late April 2019, Plaintiff told his immediate supervisor, Frank Sosa, that he
was a non-exempt employee and pursuant to the FLSA was entitled to overtime payment.
Plaintiff informed Mr. Sosa that he would report to the Labor Board if he was not paid in
accordance with the FLSA.

26. Defendant retaliated against Plaintiff for demanding to be paid in accordance
with the FLSA.

27. On or about May 3, 2019, Defendant terminated Plaintiff's employment in
retaliation for his protected action under the FLSA.

28. Defendant’s actions were willful, and showed reckless disregard for the
provisions of the FLSA.

COUNT I- FLSA OVERTIME VIOLATION

29. Plaintiff realleges and readopts the allegations of paragraphs 1 through 21 of
this Complaint, as though fully set forth herein.

30. During the statutory period, Plaintiff worked overtime hours while employed
by Defendant, and he was not compensated for all of these hours in accordance with the
FLSA.

31. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA,
within the meaning of 29 U.S.C. § 255(a).

32.  Asaresult of the foregoing, Plaintiff has suffered damages.
Case 8:19-cv-01648-JSM-JSS Document1 Filed 07/09/19 Page 5 of 7 PagelID 5

WHEREFORE, Plaintiff demands:
a) Judgment against Defendant for an amount equal to Plaintiff's unpaid
back wages at the applicable overtime rate:

b) Judgment against Defendant stating that Defendant’s violations of the

FLSA were willful:

c) An equal amount to Plaintiff's overtime damages as liquidated
damages;
d) To the extent liquidated damages are not awarded, an award of

prejudgment interest;
e) A declaratory judgment that Defendant’s practices as to Plaintiff were
unlawful, and grant Plaintiff equitable relief;
f) All costs and attorney’s fees incurred in prosecuting these claims; and
g) For such further relief as this Court deems just and equitable.
COUNT II —- UNPAID WAGES UNDER FLORIDA COMMON LAW
33. Plaintiff realleges and readopts the allegations of paragraphs 1 through 24 of
this Complaint, as though fully set forth herein.
34. During the statutory period, Plaintiff worked for Defendant, and Defendant
agreed to pay Plaintiff for Plaintiff's services.
35. Defendant failed to pay Plaintiff all “wages” owed to Plaintiff, including
reimbursement for travel expenses.

36. Asaresult of the foregoing, Plaintiff has suffered damages.
Case 8:19-cv-01648-JSM-JSS Document1 Filed 07/09/19 Page 6 of 7 PagelD 6

WHEREFORE, Plaintiff demands:

a) A jury trial on all issues so triable;

b) That process issue, and that this Court take jurisdiction over the case;

c) Judgment against Defendant for an amount equal to Plaintiff's unpaid
back wages;

d) All costs and attorney’s fees incurred in prosecuting these claims, in

accordance with Fla. Stat. § 448.08;
e) For such further relief as this Court deems just.
COUNT II —- FLSA RETALIATION
37. Plaintiff realleges and readopts the allegations of paragraphs 1 through 28 of
this Complaint, as though fully set forth herein.
38. | By demanding to be paid in accordance with the FLSA, Plaintiff engaged in
protected activity under the FLSA.
39. By terminating Plaintiff's employment, Defendant retaliated against Plaintiff
for engaging in protected activity under the FLSA.
40. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA,
within the meaning of 29 U.S.C. § 255(a).
41. Plaintiff was injured by Defendant’s violations of the FLSA.
WHEREFORE, Plaintiff demands:
(a) A jury trial on all issues so triable;

(b) That process issue and that this Court take jurisdiction over the case;
Case 8:19-cv-01648-JSM-JSS Document1 Filed 07/09/19 Page 7 of 7 PagelD 7

(c)

That this Court enter a judgment, stating that Defendant retaliated

against Plaintiff in violation of the FLSA;

(d)
(e)
law; and

(f)

Compensation for lost wages, benefits, and other remuneration;

Compensatory damages, including emotional distress, allowable at

For such further relief as this Court deems just and equitable.

JURY TRIAL DEMAND

Plaintiff demands trial by jury as to all issues so triable.

Dated this qh day of July, 2019.

Respectfully submitted,

CHRISTOPHER §. SABA
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